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 7                                UNITED STATES DISTRICT COURT

 8                              WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
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10
      CHERYL KATER, individually and on behalf             No. C15-612
11    of all others similarly situated,

12                           Plaintiff,                    COMPLAINT—CLASS ACTION
13
             v.
14
      CHURCHILL DOWNS INCORPORATED.,                       JURY DEMAND
15    a Kentucky corporation,
16
                             Defendant.
17

18          Plaintiff Cheryl Kater brings this case, individually and on behalf of all others similarly
19   situated, against Defendant Churchill Downs Incorporated (“Churchill Downs”) to enjoin its
20   operation of unlawful gambling devices. Plaintiff alleges as follows upon personal knowledge as
21   to herself and her own acts and experiences, and upon information and belief, including
22   investigation conducted by her attorneys, as to all other matters.
23                                        NATURE OF THE ACTION
24          1.       Defendant Churchill Downs owns and operates a leading video game
25   development company in the so-called “casual games” industry—that is, computer games
26   designed to appeal to a mass audience of casual gamers. Amongst the games Defendant owns
27
                                                                                 L AW O FFICES OF
     COMPLAINT—CLASS ACTION                                               C LIFFORD A. C ANTOR , P.C.
     No. C15-612
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